Case 1:23-cv-00266-PTG-IDD Document 52 Filed 09/20/23 Page 1 of 2 PageID# 391




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 MARCUS THORNTON, et al.,
                         Plaintiffs,
                 v.                                 Civil Action No. 1:23-cv-0266-PTG-IDD
 ANTONY J. BLINKEN, in his official
 capacity as Secretary of the U.S. Department
 of State and in his individual capacity, et al.,
                         Defendants.


                                  NOTICE OF HEARING DATE

       PLEASE TAKE NOTICE that on Thursday, November 2, 2023, at 10:00 a.m., or as soon

thereafter as the parties may be heard, the official capacity Defendants will bring on for hearing

their Motion to Dismiss.

Dated: September 20, 2023                           Respectfully submitted,

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                                                    _/s/_ ________________
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Case 1:23-cv-00266-PTG-IDD Document 52 Filed 09/20/23 Page 2 of 2 PageID# 392




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